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15                                        UNITED STATES DISTRICT COURT
                                         CENTRAL DISTRICT OF CALIFORNIA
16
     Stella Lemberg, Jeni Laurence, Amandra                                 CASE NO. 5:17-cv-02102-AB-SHK
17 Bluder, Carissa Stuckart, Dana Apana,
     Karen Moss Brown, Shannon Carrillo,                                    CLASS ACTION
18 Samantha Hall, Natalie Lien,      Melissa
     Atkinson, Aki Berry, Cheryl Hayton,
19   Tiffany Scheffer, Lora Haskett, Ashley                                 OPPOSITION TO DEFENDANTS’
     Healy, Jocelyn Burke-Craig, Brittany                                   MOTION TO COMPEL
20   Bianchi, Kerry Tighe-Schwegler, Jini                                   PLAINTIFFS TO INDIVIDUALLY
     Patton, Laura Rocke, Stephanie McGurn,                                 ARBITRATE AND TO DISMISS OR
21   and Peggy Johnson, on Behalf of
     themselves and all others similarly                                    STAY THIS ACTION
22   situated,
                                                                            Date: April 6, 2018
23                                Plaintiffs,                               Time: 10:00 am
          vs.                                                               Crtrm.: 7B
24
   LuLaRoe, LLC d/b/a LuLaRoe, a                                            Judge.: Hon. André Birotte, Jr., U.S.D.J.
25 California Limited Liability Company;
   LLR, Inc., a Wyoming Corporation; Mark
26 Stidham; Deanne Brady a/k/a Deanne
   Stidham; and DOES 1-10, inclusive,
27
                                  Defendant.
28   397838.1 LULAROE   [Type here]                           [Type here]




                                                                                                          5:17-cv-02102

                                          OPPOSITION TO DEFENDANTS’ MOTION TO COMPEL                                 [Type here]
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28   397838.1 LULAROE   [Type here]                                       [Type here]




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 1          I.             INTRODUCTION  
 2                 This putative class action seeks damages from Defendants’1 for a pyramid
 3 scheme which harmed approximately 80,000 people.                                       Many victims were women
 4 with children struggling to make ends meet. Defendants’ systematically siphoned

 5 over one billion dollars from women targeted and recruited by Defendants’ nefarious

 6 practices.

 7                 Defendants now seek to require these women to mediate and arbitrate their
 8 claims. Yet, Defendants failed to establish that Plaintiffs ever assented to mediate

 9 and arbitrate. Even if they had, the arbitration provisions they seek to enforce are

10 unconscionable because, among other things, they lack mutuality (i.e., Defendants

11 themselves are not required to arbitrate) and impose exorbitant costs on Plaintiffs that

12 would preclude them from pursuing their claims. Defendants’ motion must be denied.

13          II.            Factual Background
14                 Under the scheme, Plaintiffs2 were recruited to become LuLaRoe Consultants
15 (“Consultants”). [see Dkt. 45.] Plaintiffs had to sign some version of an Independent

16 Consultant Program Application and Agreement (“Agreement”) with a LLR

17 defendant. [Dkt. 76, p.2] Plaintiffs had to buy over $5,000 (wholesale) worth of

18 leggings and clothing (“inventory”) from LLR.                                     [Dkt. 45.] Then, Plaintiffs were
19 required to make monthly inventory purchases and recruit additional Consultants into

20 the scheme in order to qualify for commissions and bonuses. id. Plaintiffs were

21 promised they could quit LLR and return their unsold inventory for a refund. id. This

22

23
                                                                 
     1
24     Defendants LuLaRoe, LLC, and LLR, Inc. (“LLR”), Mark Stidham and DeAnne Brady,
     and John Does 1- 10 inclusive are collectively referred to as “Defendants.”
25   2
       Stella Lemberg, Jeni Laurence, Amandra Bluder, Carissa Stuckart, Dana Apana, Karen
26   Moss Brown, Shannon Carrillo, Samantha Hall, Natalie Lien, Melissa Atkinson, Aki Berry,
     Cheryl Hayton, Tiffany Scheffer, Lora Haskett, Ashley Healy, Jocelyn Burke-Craig,
27
     Brittany Bianchi, Kerry Tighe-Schwegler, Jini Patton, Laura Rocke, Stephenie McGurn,
28   and   Peggy Johnson are collectively “Plaintiffs.” 
     397838.1 LULAROE           [Type here]                            [Type here]




                                                                          1                              5:17-cv-02102

                                                   OPPOSITION TO DEFENDANTS’ MOTION TO COMPEL                       [Type here]
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                             3
  1 was false.

  2                  Defendants harmed Plaintiffs through their respective roles in the LuLaRoe
  3 pyramid scheme. Plaintiffs filed their Complaint against Defendants on behalf of

  4 themselves and those similarly situated for: (1) violation of California’s Unfair

  5 Competition Law; (2) violation of California’s Unfair Advertising Law; (3) Unjust

  6 Enrichment; (4) Breach of Contract; (5) Breach of the Covenant of Good Faith and

  7 Fair Dealing; (6) Conversion; (7) Violations of California’s Seller Assisted

  8 Marketing Plan Act (“SAMP”); and (8) Violations of California Penal Code §327 and

  9 California Civil Code §1689.2.

10                   A. The LLR, Inc. and LuLaRoe LLC “Agreements”
11                   Defendants seek to compel Plaintiffs into a multistep alternative dispute
12 resolution process (“ADR Process”) based upon mediation and arbitration provisions

13 which are not found in the Agreements. [see Dkt. 76-7 - 76-12] Defendants claim

14 that the ADR Process sought is set forth in the Agreements and two additional
                                                                                           4
15 documents the “LuLaRoe Policies and Procedures” (“P&P”) and a later amendment

16 to same (“Amendment”). [Dkt. 76-6, p.28-65]. Defendants provided three versions of

17 the Agreement for Plaintiffs.

18                   1. Agreement 3.0: March of 2014
19                   For Plaintiffs McGurn and Patton, it is the Agreement 3.0 version between the
20 Consultant and LuLaRoe, LLC (“3.0”). [Dkt. 76-12, p. 25-30; 76-11, p.39-42, 76-12,

21

22                                                             
        3
23
          Extensive factual background of Plaintiffs, Defendants, the claims, and harm is set forth in
        greater detail, and incorporated herein from, the Plaintiffs First Amended Complaint (the
24      “Complaint”). [Dkt. 45.]
        4
25
          The P&P is referred to by Defendants’ as the “LLR, Inc. Policies and Procedures”
        although the title page on the document does not. See Dkt. 76-6, p. 3 at ¶6 and Dkt. 76-6, p.
26      28. The P&P produced bears the number REV2.20150603. Dkt. 76-6, p. 28. Defendants
27      provide no information regarding the effective date of this P&P or whether additional
        versions exist(ed).
28                                                                     2
                                                     OPPOSITION TO DEFENDANTS’ MOTION TO COMPEL
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                   5                                                                         6
  1 p.1-2 ]. 3.0 was available in March of 2014 on “Back Office.”                                 The 6 pages of 3.0
  2 do not contain any reference to mediation or arbitration. LuLaRoe, LLC reserves the

  3 right to unilaterally change its “Policies and Procedures, Compensation Plan and

  4 Wholesale Pricing Structure […] upon written notice to Consultants.” [Dkt. 76-12,

  5 p.26] Paragraph 13 states the “Agreement constitutes the entire agreement” but then

  6 claims to incorporate by reference the: “(i) The LuLaRoe Policies and Procedures, (ii)

  7 The LuLaRoe Compensation Plan, (iii) The LuLaRoe Consignment Program or

  8 Credit Application if applicable, (iv) The Business Entity Form, if applicable […].”

  9 [id. at p.29](emphasis added). 3.0 does not say how these 4 (or 5) documents may be

10 accessed. 3.0 does not mention “Back Office.” Defendants did not give these 4 (or

11 5) documents to Plaintiffs when they became Consultants nor in support of their

12 instant motion. Plaintiffs’ requested same the first business day following the filing

13 of the instant motion. [Declaration of Kelly M. Purcaro (“Purcaro Dec.”), ¶6-9, and

14 Ex. A] Defendants refuse to produce the documents. [id. at ¶10 and Ex. B].

15                     2. Agreement 4.0: July 24, 2015
16                     For Plaintiffs Laurence, Bluder, Brown, Hayton, Scheffer, Craig, Bianchi, and
                    7
17 Healy there is an Agreement version 4.0 between the Consultant and LLR, Inc.

18 (“4.0”). [Dkt. 76-6, p. 13-18] 4.0 was available July 24, 2015 until September 2,

19 2016 on “Back Office.” [Dkt. 76-6, p. 2-3 at ¶4] A passing reference is made to non-

20                                                             
        5
21
          Patton’s 3.0 is not signed by Patton nor LuLaRoe, LLC.
        6
          “Back Office” is a portal on LLR, Inc.’s website that Consultants can access once LLR
22      provides them with login information. [Dkt. 76, p.7]. LLR did not inform 3.0 Plaintiffs of a
23
        Back Office. [Dkt. 76-12, p. 25-30; 76-11, p.39-42, 76-12, p.1-2]. Defendants did not give
        Patton the ability to access to Back Office until July 5, 2016, months after she became a
24      Consultant, paid thousands of dollars, and had no option to cancel. [Dkt. 76-7, p. 15 at ¶67).
25
        It is unclear when Patton first accessed Back Office, Defendants records begin October 14,
        2016. [Dkt. 76-7, p. 15, Dkt. 76-19, p. 124-158, and Dkt. 76-20, p. 1-2] It seems
26      Defendants did not give McGurn access to Back Office. [Dkt. 76-7, p. 16 at ¶¶72, 73, and
27      74].
        7
          Healy’s Agreement is missing ¶¶ 8, 9, part of 10, and 11. [Dkt. 76-11, p.5-10]  
28                                                                     3
                                                     OPPOSITION TO DEFENDANTS’ MOTION TO COMPEL
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  1 judicial dispute resolution toward the end of the 6 page long 4.0. [Dkt. 76-6, p. 17]

  2 It states that the parties should attempt to resolve disputes through non-binding

  3 mediation, but then exempts LLR, Inc. from having to engage in such mediation if

  4 the dispute involves disciplinary action against the Consultant. id. (emphasis added).

  5 Disciplinary action is not defined. id. There is no indication of where the mediation

  6 is to take place, the length or cost of mediation, the selection of a mediator, etc. id. If

  7 mediation is unsuccessful, 4.0 provides that “the dispute shall be settled totally and

  8 finally by arbitration[.]” id. The Agreement does not explain who the arbitrators will

  9 be, the rules that will apply, where the arbitration will take place, or the costs. id.

10                   LLR, Inc. reserves the right to unilaterally change its “Policies and Procedures,
11 Leadership Bonus Plan and Wholesale Pricing Structure […] effective 30 days after”

12 written notice to Consultants via “email, post[ing] on LLR INC.’s website, and

13 post[ing] in Consultant’s Back Office.”                                [Dkt. 76-6, p. 14] (emphasis added).
14 Paragraph 15 states that this “Agreement constitutes the entire agreement” but then
                                                                                                            8
15 claims to incorporate by reference: “(i) The LLR INC. Policies and Procedures, (ii)

16 The LLR INC. Training Bonus Plan, (iii) The LLR Inc. Initial Inventory Fund or

17 Credit Application if applicable, (iv) The Business Entity Form, if applicable […].”

18 [Dkt. 76-6, p. 16 (Emphasis added). Defendants did not give these documents to

19 Plaintiffs at the time they became Consultants nor have they been produced in

20 support of the instant motion. [Dkt. 76].                               Plaintiffs’ requested these documents.
21 Purcaro Dec. ¶6-9, and Ex. A. Defendants refuse to produce same. id. at ¶10 and Ex,

22 B.

23                   For Plaintiffs Lemberg, Apana, Carrillo, Berry, Haskett, Schwegler, and
24 Rocke, only the first and last page of 4.0 are provided [Dkt. 76-7, p.27-28; p.78-79;

25                                                            
   8
                                                              
    The P&P Defendants submit in support of this motion is entitled “LuLaRoe Policies and
26 Procedures” bearing the number “REV2.20150603.” [Dkt. 76-6, p. 28-61]. Defendant Mark

27 Stidham’s testimony in a prior case indicates multiple version of the Policies and procedures
   exits. See Purcaro Dec. Ex. C and D.
28                                                                    4
                                                    OPPOSITION TO DEFENDANTS’ MOTION TO COMPEL
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  1 Dkt. 76-9, p.10-11; Dkt. 76-10, p.6-7; p.52-53; Dkt. 76-11, p.32-33; Dkt. 76-12, p.11-

  2 12.].              These pages make no reference of mediation, arbitration, or Policies and
                                                                  9
  3 Procedures (P&P or otherwise).

  4                  3. Agreement 6.5.1: September 2, 2016
  5                  For Plaintiffs Stuckart, Hall, Lien, Atkinson, and Johnson there is an
  6 Agreement version 6.5.1 between the Consultant and LLR, Inc. (“6.5.1”). [Dkt. 76-6,

  7 p. 20-26] The 7 page long 6.5.1 became available September 2, 2016. Paragraph 3

  8 requires Consultants to initial that they agree to allow LLR to access their personal

  9 bank accounts. id. Paragraph 25 has a passing reference to mediation and exempts

10 LLR INC from having to engage in mediation if the dispute involves disciplinary

11 action against the Consultant.                                     id. (emphasis added). Disciplinary action is not
12 defined. It then states that unresolved disputes will go to arbitration.                                Unlike the
13 banking provisions, Consultants are not required to initial near this provision. See id.

14 6.5.1 is void of details about the logistics, location, length or cost of mediation or

15 arbitration.

16                   Paragraph 26 states either party can go to court in the Central District of
17 California for various forms of equitable relief relating to intellectual property rights.

18 [Dkt. 76-6, p. 25] In paragraph 15, LLR, Inc. reserves the right to completely by-

19 pass the mediation and arbitration process in the event that it believes the Consultant

20 breached the agreement. Id. LLR Inc. can unilaterally and immediately terminate the

21 Agreement without notice to the Consultant if, in LLR’s sole judgment it determines

22                                                             
        9
              Defendants
                      concede, prior to September 2016, onboarding new Consultants was “often”
23
        handled by existing Consultants. [Dkt.76-7, pg. 3 at ¶7] As a matter of policy, new
24      Consultants were only required to send in the first and last pages of their Agreements.
25
        [Dkt.76-7, pg. 3 at ¶7] Defendants took no action to determine whether (1) the prospective
        Consultant was provided the entire Agreement, (2) the Agreement had been modified by the
26      recruiting Consultant, (3) the P&P was provided, or (4) the prospective Consultant was
27      given any of the documents purportedly incorporated by reference into the Agreement. LLR
        could easily have required (at minimum) all pages returned.
28                                                                          5
                                                     OPPOSITION TO DEFENDANTS’ MOTION TO COMPEL
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 1 that the Consultant did something improper or negative. Id. Paragraph 23 reserves

 2 the right of LLR to withhold bonus and commissions, while still pulling money form

 3 Consultant’s bank accounts, if LLR decides that the Consultant breached the contract.

 4 Id. Paragraph 33 shortens the statute of limitations for Consultants and states that

 5 Consultants waives all statute of limitations claims [Dkt. 76-6, p. 26]. Unlike the

 6 banking provisions, Plaintiffs are not required to initial near any of these provisions.

 7        Paragraph 11 states that it incorporates by reference “the Policies and
 8 Procedures and Leadership Bonus Plan” into the Agreement and that the Consultant

 9 has or will review them within five days. [Dkt. 76-6, p. 22] (emphasis added). These

10 appear to be the P&P and Leadership Bonus Plan attached to Defendants’ instant

11 motion.

12        B. The P&P and the one-sided ADR Process:
13        The ADR Process is found in the P&P, a document which none of the
14 Plaintiffs signed, and some version of which Defendants claim was “available”

15 beginning June 2, 2015. [Dkt. 76-6, p.3 and p.28-61] The P&P was “developed by”

16 LLR, Inc. for its relationship with Consultants. [Dkt. 76-6, p.29]. It is 34 pages long.

17        The ADR Process is one-sided. It seeks to force Plaintiffs’ grievances against
18 LLR, Inc. into mediation and then arbitration. [see Dkt. 76-6, p. 28-61] LLR, Inc.

19 carved itself out of this ADR Process by, among other things, reserving the right to

20 unilaterally take action against Consultants for breach of contract claims, i.e. claims

21 arising out of or relating to the Agreement, or any violation of any law or other

22 standard imposed by LLR. [Dkt. 76-6, p. 56-57] P&P Section 6.1 states:

23
                 Violation of the Agreement, These Policies and
                 Procedures, violation of any common law duty, including
24               but not limited to any applicable duty of loyalty, any
25
                 illegal, fraudulent, deceptive or unethical business
                 conduct, or any act or omission by an Independent
26               Fashion Consultant that, in the sole discretion of the
27               Company may damage its reputation or goodwill (such

28                                            6
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  1
                        damaging act or omission need not be related to the
                        Independent Fashion Consultant’s LLR Business), may
  2                     result, at LLR’s discretion, in one or more of the
  3
                        following corrective measures”
        id.       The “measures” include but are not limited to the imposition of a fine,
  4

  5 withholding commissions and bonuses, removal of the Consultant’s downline,

  6 involuntary termination of the Agreement, and any other measure “LLR deems

  7
        practicable to implement and appropriate to equitably resolve injuries caused
  8

  9 partially or exclusively by the […] Consultants’ policy violation or contractual

10 breach. id. When LLR, Inc. “deems appropriate” it may “institute legal

11
        proceedings for monetary and/or equitable relief.” id. LLR, Inc. reserves its right
12

13 to avoid mediation and arbitration if it believes that a household member of a

14 Consultant does something that would “violate any provision of the Agreement” if

15
        the Consultant did it. [Dkt. 76-6, p. 57). In short, when a Consultant requires legal
16

17 resort, she must go through a multistep ADR process, but LLR does not have to.

18
                     The P&P and Amendment also provide a carve-out for the type of claims only
19
        LLR would enforce, such as the protection of intellectual property rights and
20
        enforcement of the non-solicitation clause. Id. Similarly, the ADR Process attempts
21
        to incorporate a confidentiality requirement which only benefits the Defendants. id.
22
                     Defendants admit that, at most, only 5 Plaintiffs had access to the P&P at the
23
        time they became Consultants. [see Dkt. 76, p. 15]10 For the remaining 17 Plaintiffs,
24

25                                                            
   10
                                                              
      Defendants produced the P&P for only Plaintiffs Stuckart, Hall, Lien, Atkinson, and
26 Johnson. After Defendants filed the instant motion, Plaintiffs requested the Policies and

27 Procedures in effect at the time each Plaintiff became a Consultant. Defendants refused to
   provide same. Purcaro Dec. ¶6-10, Ex. A & B.
28                                                                    7
                                                    OPPOSITION TO DEFENDANTS’ MOTION TO COMPEL
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 1 Defendants did not provide access to, let alone copies of, the Policies and Procedures,

 2 the P&P or otherwise.                                            Defendants did not mail copies of P&P to Plaintiffs.
 3 Defendants provided it to a Consultant if she specifically requested it. [Dkt. 76-2, p. 2

 4 at ¶3] Defendants claim to have posted P&P in the “Back Office.” Plaintiffs did not

 5 have access to the Back Office (if at all) until: (1) after the Agreement was signed,

 6 (2) the time to cancel had expired, (3) they already paid thousands of dollars to

 7 Defendants, and (4) the log-in information was provided (if at all) by LLR.

 8                 The P&P and Amendment set forth an onerous, cost-prohibitive, and
 9 unconscionable ADR Process. “Mediation” is on page 30 of P&P and provides that,

10 prior to arbitration, the parties should engage in mediation for up to two days. [Dkt.

11 76-6, p. 57] “The mediator’s fees and costs, as well as the costs of holding and

12 conducting mediation, shall be divided equally between the parties,” paid 10 days in

13 advance of the mediation, and each party pays its owns attorney’s fees, travel costs

14 and expenses. id. The cost of one mediator suggested by Defendants’ counsel is

15 approximately $6,000 per day. Declaration of Marc L. Godino (“Godino Decl.”) ¶

16 14.

17                 Arbitration is on pages 30-31, and provides that “any controversy or claim
18 arising out of or relating to the Agreement, or breach thereof, shall be resolved

19 by arbitration.” [Dkt. 76-6, p. 57] (emphasis in original). It provides for AAA or

20 JAMS rules, but does not state which rules apply or how this determination would be

21 made. Id. It then provides for certain federal rules which benefit Defendants only. id.

22 at p. 58. The Amendment contains the same language, but applies state rules to the

23 ADR Process. [Dkt. 76-6, p. 63-65] Neither AAA nor JAMS rules are provided.

24                 Consultants throughout the nation are required to travel to a specific location11
25
                                                                 
26   11
      Excluding Louisiana residents, either Wyoming under P&P or California under the
27 Amendment. Plaintiffs worked as Consultants from their homes through pop-up sales, in
   person or on Facebook, never having to travel. [Dkt. 76, p. 10 and Dkt. 76-1, p. 2 at ¶4].  
28                                                                              8
                                                      OPPOSITION TO DEFENDANTS’ MOTION TO COMPEL
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 1 to arbitrate and all Consultants are required to “be responsible for its own costs and

 2 expenses or arbitration, including legal and filing fees.” [Dkt. 76-6, p. 57-8] There is

 3 no further information provided about the cost of initiating arbitration or how much

 4 arbitrators charge for their services. The potentially 7 day ADR Process demanded

 5 by Defendants could easily exceed $20,000 per Plaintiff, Godino Dec. ¶¶ 7-16, not

 6 including attorney’s fees, costs, travel and expenses.

 7         Plaintiffs cannot afford these costs nor do the claim amounts justify such an
 8 expensive ADR Process.       (See Declarations of Apana, Atkinson, Brown, Bluder,
 9 Carrillo, Haskett, Haely, Hall, Hayton, Lauren, Lemberg, Lien, Berry, McGurn,

10 Patton, Rocke, Scheffer, Stuckart, Schwegler, Craig and Johnson (“Plaintiffs’ Decs”).

11      III. ARGUMENT
12
        A. Defendants fail to meet their burden to prove valid arbitration agreements
           “[A]rbitration is a matter of contract and a party cannot be required to submit
13
     to arbitration any dispute which he has not agreed so to submit.” Norcia v. Samsung
14
     Telecommunications Am., LLC, 845 F.3d 1279, 1283 (9th Cir.), cert. denied, 138 S.
15
     Ct. 203 (2017) (quoting AT&T Techs., Inc. v. Commc'ns Workers of Am., 475 U.S.
16
     643, 648 (1986)). A litigant may only be denied a judicial forum and forced into
17
     arbitration when: (1) a valid agreement to arbitrate exists; and (2) the arbitration
18
     agreement encompasses the dispute at issue. Kilgore v. KeyBank, Nat. Ass’n, 718
19
     F.3d 1052, 1058 (9th Cir. 2013); Perez v. DirecTV Grp. Holdings, LLC, 251 F. Supp.
20
     3d 1328, 1336 (C.D. Cal. 2017). Defendants, seeking to compel arbitration, have the
21
     burden of proving both elements. Ashby v. Archstone Property Mgmt., Inc., 785 F.3d
22
     1320, 1323 (9th Cir. 2015); Perez, 251 F. Supp. at 1336.
23
              1. Lack of Assent
24
           If a purported arbitration agreement fails to conform to basic contract
25
     principles, it is invalid and access to the judicial forum cannot be denied. Norcia,
26
     845 F.3d at 1284. Assent is an essential element of contract formation. Norcia, 845
27

28                                           9
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 1 F.3d at 1284; see also Knutson v. Sirius XM Radio Inc., 771 F.3d 559, 565 (9th Cir.

 2 2014). Defendants’ claim that Plaintiffs assented to the ADR process by executing

 3 an Agreement, which in turn incorporates the P&P. This argument fails.

 4                 Defendants failed to prove Plaintiffs McGurn and Patton, agreed to the ADR
 5 Process. Their Agreements 3.0 do not contain a single reference to mediation nor

 6 arbitration, let alone demonstrate assent to same. Defendants argue that the P&P

 7 containing the ADR Process was incorporated into 3.0. This cannot be. 3.0 became

 8 available March of 2014 between LuLaRoe, LLC and Consultants, but P&P was

 9 between LLR, Inc. and Consultants and was not available until over a year later (June

10 3, 2015).                    3.0 could not possibly incorporate a document that did not yet exist.
                                                                                                   12
11 Defendants failed, and refuse, to produce the LuLaRoe Policies and Procedures ,

12 along with the additional documents ostensibly incorporated by reference. See

13 Purcaro Dec. ¶6-10, Ex A-D.

14                 The Defendants cannot have it both ways: either the agreement is just the 6
15 page Agreement, or the agreement is the Agreement plus all documents incorporated

16 by reference. If the latter, Defendants cannot force Plaintiffs into the ADR Process
                                                                                            13
17 while at the same time refusing to produce the full agreement.

18                 Defendants failed to prove a valid agreement to the ADR Process for Plaintiffs
19
                                                                 
     12
20      P&P refers to an “Audry” system [Dkt. 76-6, p. 35, 43]. Defendants did not use Audry
21
     until about June of 2015, over a year after the 3.0 was available. Purcaro Dec Ex. C. The
     P&P bear the number “Rev2.2015603,” which is indicative of multiple versions. [Dkt. 76-6,
22   p.28]
     13
23
        Defendants may argue the P&P is binding on Plaintiffs because LLR had the right to
     amend or because Plaintiffs became Consultants after June 3, 2016. These arguments fail.
24   Defendants must show a valid arbitration agreement was formed and that Plaintiffs assented
25
     to the terms. It is unclear which version was in effect at the time each Plaintiff became a
     Consultant and if/how each was provided with same. Assuming arguendo that LLR could
26   unilaterally make such changes, they must show at minimum what the original terms were,
27   how and when the terms changed, along with how and when LLR provided each Plaintiff
     with the required written notice - email, posting on website and posting on Back Office.
28                                                                      10
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 1 Lemberg, Apana, Carrillo, Berry, Haskett, Schwegler, and Rocke. Defendants bear

 2 the burden of demonstrating assent to the ADR Process and the two pages produced

 3 do not reference mediation or arbitration, let alone demonstrate assent to same.

 4 Defendants have not produced evidence of contract formation for the ADR Process.

 5 These Plaintiffs cannot be denied access to a judicial forum.

 6        Defendants did not prove a valid agreement to the ADR Process for Plaintiffs
 7 Laurence, Bluder, Brown, Hayton, Scheffer, Craig, Bianchi, and Healy because 4.0

 8 only makes a passing reference to mediation and arbitration but provides no further

 9 details.   It purports to incorporate by reference The LLR INC Policies and
10 Procedures, along with 3 or 4 additional documents, none of which are provided.

11        Defendants fail to meet their burden to prove the existence of a valid
12 arbitration agreement with respect to Plaintiffs Stuckart, Hall, Lien, Atkinson and

13 Johnson. 6.5.1 does not set forth the ADR Process.       Instead, it refers to terms set
14 forth in the P&P and thus the Court must determine whether the P&P is properly

15 incorporated into the Agreement. See Perez, 251 F. Supp. 3d at 1338.

16        In Perez, the defendant had the plaintiff sign an equipment leasing agreement
17 (“ELA”),    which included reference to a separate agreement (“Customer
18 Agreement”).     Id. at 1333.   The Customer Agreement was not provided to the
19 plaintiff when signing the ELA, but stated that the Customer Agreement was online.

20 Id. at 1338-39. The ELA provided that “both parties will resolve any dispute under

21 this ELA or the Customer Agreement, using a binding arbitration procedure set forth

22 in the Customer Agreement.” Id. at 1339. The defendant claimed that the Customer

23 Agreement would later be mailed to the plaintiff. Id. at 1334.

24         The defendant moved to compel arbitration, arguing that the plaintiff agreed to
25 arbitrate by signing the ELA with an abbreviated arbitration provision and later

26 receiving the Customer Agreement with the full arbitration terms. Id. at 1338. The

27 court rejected these arguments. Id.

28                                          11
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 1
                For an agreement to incorporate the terms of another
                document by reference, (1) “the reference must be clear
 2              and unequivocal”; (2) “the reference must be called to the
 3
                attention of the other party and he must consent thereto”;
                and (3) “the terms of the incorporated document must be
 4              known or easily available to the contracting parties.”
 5 Id. at 1338 (quoting Shaw v. Regents of Univ. of Cal., 58 Cal. App. 4th 44, 54

 6 (1997)). Although the arbitration agreement was called to plaintiff’s attention (set

 7 apart in its own section and the word arbitration was in bold, underlined, and all caps

 8 near plaintiff’s signature) it was nonetheless not properly incorporated as the

 9 reference was not clear and unequivocal and the terms of the incorporated document

10 were not known or easily accessible to the plaintiff when she signed the ELA. Id. at

11 1139. Availability of the ELA online at a hyperlink provided was insufficient. Id.

12        Here, none of the three required Perez factors are satisfied: (1) the reference to
13 the ADR Process was not clear and unequivocal because 3.0, 4.0., and 6.5.1 were

14 each self-defined on the first page as the “Agreement” between the parties. It is fair

15 to assume that Plaintiffs would take this to mean that the document they signed was

16 the entire agreement. Each Agreement had multiple paragraphs addressing policies,

17 procedures, court action related information (venue, jurisdiction, statutes of

18 limitations waivers) and the like. Given that LLR neither clarified that the paragraphs

19 in the Agreement were not the P&P, that separate documents contained material

20 ADR terms, nor provided such documents to Plaintiffs, the incorporation by

21 reference was not clear and unequivocal; (2) the reference was not called to the

22 attention of the Plaintiffs because it was buried in a passing reference in the same

23 font as the rest of the multipage Agreement and Plaintiffs did not consent thereto

24 (contrast with the banking provision at the beginning of 6.5.1 requiring initials); and

25 (3) the terms of the incorporated document, P&P, was not known or easily available

26 to the Plaintiffs. Plaintiffs’ access to the P&P was more circumscribed than Perez, or

27 cases Defendants cite, because Defendants did not actually mail the P&P to

28                                           12
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                            14
  1 Plaintiffs.                   [Dkt. 76, p. 14-16]; see Perez, 251 F. Supp. at 1134; Wolschlager v.
  2 Fidelity Nat. Title Ins. Co., 111 Cal. App. 4th 784, 788 (2003); Quiroz v. Cavalry

  3 SPV I, LLC, 217 F. Supp. 3d 1130, 1135 (C.D. Cal. 2016); Amirhamzeh v. Wells

  4 Fargo Bank, N.A., No. 14-2123, 2014 WL 12610227, at *1 (N.D. Cal. Oct. 31, 2014).

  5                  Defendants attempt to rectify its deficient incorporation of the P&P by now
                                                                    15
  6 including hyperlinks to P&P in 6.5.1.                                [Dkt. 76, p. 22] This change—demonstrating
                                                                                                                 16
  7 the impropriety of prior practices —at best would only impact 5 Plaintiffs’ claims.

  8 Even if the Court were to consider the post-September 2016 process, Defendants’

  9 argument still fails because all three Perez factors must be met.

10                                                             
        14
           LLR attempted to distribute the P&P via e-mail en masse in about September October
11
        2016. [Dkt. No. 76-14, p. 2 at ¶¶3,4 and p. 3 ¶5] This occurred months after the five-day
12      objection period and after Plaintiffs already paid thousands of dollars for inventory. Any
        argument that Plaintiffs could have rejected the terms is spurious. Even if the emails had
13
        any relevance, they were not sent to all Plaintiffs. id.
        15
14         The fact that the P&P was available in Back Office is meaningless. Back Office was not
        set up, if at all, until months after an illusory 5 day opt out window.
15      16
           To the extent the Court considers these arguments, Defendants’ reliance on Miguel v.
16      JPMorgan Chase Bank, N.A., is misplaced. There, the plaintiff signed an employment
        agreement that contained a “Binding Arbitration Affirmation” section, right above his
17
        signature, that clearly and unequivocally addressed the existence of a separate arbitration
18      agreement and contained a hyperlink in that very section. No. 12-3308, 2013 WL 452418,
19
        at *4-5 (C.D. Cal. Feb. 5, 2013). The plaintiff signed that he read, understood, and agreed
        to the arbitration agreement. id. Here, at best the 6.5.1 Plaintiffs only signed their
20      agreements which made a hidden reference that they have or would review some Policies
21
        and Procedures. LLR did not generate a separate “Binding Arbitration Agreement” but
        instead hid its unconscionable ADR Process in it’s a lengthy P&P. Unlike Miguel, its
22      arbitration waiver was not “bolded and underlined.” Id. at *5. Defendants also did not
23
        include in its Agreements an express statement that the agreement to arbitrate was a specific
        precondition to Plaintiffs becoming Consultants. They further failed to provide an opt-out.
24      Defendants may argue that an obligation to bold or highlight arbitration clauses would be
25
        preempted by the FAA, but as the Sanchez court notes, cases have gone both ways on this
        issue and see Concepcion, supra, 563 U.S. at pp. ––––, fn. 6, 131 S.Ct. at p. 1750, fn. 6
26      [“States remain free to take steps addressing the concerns that attend contracts of adhesion-
27      for example, requiring class-action-waiver provisions in adhesive arbitration agreements to
        be highlighted.”].)
28                                                                       13
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 1                         2. Conduct After the Fact Does Not Cure Lack of Assent
 2                 Defendants make much ado about Plaintiffs continuing to purchase inventory17
 3 after October 14, 2016, the date the First Amendment was purportedly sent to

 4 Plaintiffs via email. [Dkt. 76, p. 24] This argument is of no moment. First, Plaintiffs

 5 had no option to reject these new terms. Second, these emails do not make clear that

 6 the P&P or Amendment are contractual terms that modify the parties’ relationship.

 7 Norcia v. Samsung Telecommunications Am., LLC, 845 F.3d 1279, 1290 (9th Cir.),

 8 cert. denied, 138 S. Ct. 203 (2017); Cory v. Golden State Bank, 95 Cal. App. 3d 360,

 9 367 (1979); Windsor Mills, Inc. v. Collins & Aikman Corp., 25 Cal. App. 3d 987, 993

10 (1972).                 Nothing in this email draws attention to the existence of an arbitration
                                                                                                             18
11 agreement - let alone to the unconscionable terms that Defendants seek to impose.

12                 Defendants’ citations are inapposite. In Amirhamzeh v. Wells Fargo Bank,
13 N.A., the plaintiff was provided a thirty-day trial period and then mailed a physical

14 copy of a document titled “Membership Terms and Conditions.”                                        2014 WL
15 12610227, at *1. The plaintiff’s initial investment was $1.00 and he was able to

16 cancel at any time without any penalty. Id. at *1. Here, only some Plaintiffs were

17 provided a five-day cancelation period and none were ever mailed a physical copy of

18 the P&P or Amendment, let alone within the five-day review period.

19                   Likely the most distinguishing factor here is that Plaintiffs did not have the
20 ability to reject the terms and “walk away.”                                 As set forth in the Complaint and
21
                                                                 
22   17
        Defendants failed to produce purchase records for McGurn and Hayton, and the records
23   attached for Hall are not even her records. [Dkt. 76-17. P. 115-123 and Dkt. 76-18, p. 1-5]
     18
         If these emails were meant to be legal correspondence, one would not expect an
24   “unsubscribe” option or the words “FRIYAY!! [sic] WOO WOO!!!” To the extent
25   Defendants are not relying on these emails and instead claiming that copies of the P&P or
     Amendment in the “Back Office” constituted notice, this argument is specious as these
26   documents were not prominently called to the Plaintiffs’ attention nor did LLR post them
27   on their website as required. [Dkt. 76-6, p. 2-3]
28                                                                      14
                                                      OPPOSITION TO DEFENDANTS’ MOTION TO COMPEL
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 1 Declarations submitted herewith, Plaintiffs had to spend thousands of dollars on

 2 inventory to get started as Consultants. [See Plaintiffs’ Decs] Many of these women,

 3 already struggling to provide for their families, took out loans to buy the necessary

 4 inventory. (DECS). When each tried to “walk away” and get their money back,

 5 Defendants failed and refused to buy back the inventory as promised. (DECS). This

 6 is in stark contrast to Amirhamzeh, who was provided with the full $247.81 refund

 7 she requested. 2014 WL 12610227, at *1. Plaintiffs here are left holding the bag on

 8 $7,000 to $20,000 worth of LLR inventory, a substantial financial burden. (DECS).

 9        Quiroz v. Calvary SPV I, LLC is distinguishable on similar grounds. 217 F.
10 Supp. 3d 1130, 1135-36 (C.D. Cal. 2016) (enforcing terms of agreement mailed to

11 plaintiff, the plaintiff was able to opt out of arbitration, and did not have to make a

12 several-thousand-dollar initial investment).     Nghiem v. NEC Electronics, Inc.
13 involved a plaintiff who voluntarily initiated arbitration. 25 F.3d 1437, 1439 (9th

14 Cir. 1994). Pinnacle Museum Tower Association v. Pinnacle Market Development

15 (US), LLC does not even involve subsequent delivery of a purported agreement, but

16 instead involves whether an existing agreement to arbitrate by all of the members of a

17 condominium association could be binding on that association. 55 Cal. 4th 223, 232,

18 240 (2012).

19
       B. The Arbitration Agreement is Unconscionable

20        Even if there was a validly formed agreement to arbitrate, which there is not,
21 the ADR Process itself is unconscionable and cannot be enforced.

22        Unconscionability refers to “an absence of meaningful choice on the part of
23 one of the parties together with contract terms which are unreasonably favorable to

24 the other party.” Sanchez v. Valencia Holding Co., LLC 61 Cal. 4th 899, 910 (2015).

25 A contractual clause is unenforceable if it is both procedurally and substantively

26 unconscionable. Flores v. Transamerica HomeFirst, Inc., 93 Cal. App. 4th 846, 853

27 (2001). Procedural unconscionability focuses on “the manner in which the contract

28                                          15
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 1 was negotiated and the circumstances of the parties at that time,” specifically, the

 2 factors of oppression and surprise; substantive unconscionability “concerns whether a

 3 contractual provision reallocates risks in an objectively unreasonable or unexpected

 4 manner.” Parada v. Superior Court, 176 Cal. App. 4th 1554, 1568, 1570 (2009).

 5 Both procedural and substantive unconscionability are required to invalidate an

 6 arbitration agreement, but not to the same degree. Id. “In other words, the more

 7 substantively oppressive the contract term, the less evidence of procedural

 8 unconscionability is required to come to the conclusion that the term is

 9 unenforceable, and vice versa.” Id.

10        1.     The Arbitration Agreement is Procedurally Unconscionable
11        Defendants’ ADR Process is procedurally unconscionable because they are
12 contracts of adhesion permeated with oppression and surprise.

13               a. Arbitration Agreements are Oppressive Contracts of Adhesion
14        The ADR Process is hidden in a contract of adhesion, the Agreement and P&P,
15 because it is presented on a take-it-or-leave-it basis. Plaintiffs were not given the

16 opportunity to negotiate the terms, nor was there any option or guidelines for opting

17 out of it.   See Armendariz v. Found. Health Psychcare Servs., 24 Cal. 4th 83, 113
18 (2000) (a standardized contract, drafted by the party with greater bargaining power

19 and that “relegates the subscribing party only the opportunity to adhere to the

20 contract or reject it” is inherently oppressive); Pokorny v. Quixtar, Inc., 601 F.3d

21 987, 996 (9th Cir. 2010) (“a contract is procedurally unconscionable under California

22 law if it is a standardized contract, drafted by the party of superior bargaining

23 strength, that relegates to the subscribing party only the opportunity to adhere to the

24 contract or reject it”) (internal quotation and citation omitted).

25        Defendants erroneously argue that the ADR Process is not procedurally
26 unconscionable, claiming Plaintiffs had the opportunity to reject the Agreement in its

27 entirety and “do business elsewhere” with “other direct marketing companies or

28                                            16
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 1 apparel companies.” [Dkt. 76, p. 27] Courts in the Ninth Circuit have repeatedly

 2 rejected this argument, explaining that the option to do business elsewhere is a “false

 3 choice, not the kind of non-oppressive, meaningful choice that the case law requires”

 4 and such contracts can still be procedurally unconscionable. O’Hanlon v. JPMorgan

 5 Chase Bank, N.A., 2015 WL 5884844, at *3 (C.D. Cal. Oct. 7, 2015) (internal

 6 quotation and citation omitted); see also Ingle v. Circuit City Stores, Inc., 328 F.3d

 7 1165, 1172 (9th Cir. 2003) (“the availability of other options does not bear on

 8 whether a contract is procedurally unconscionable”). Plaintiffs were never given the

 9 opportunity to negotiate the terms of the Agreement or P&P and never presented with

10 the chance to opt-out of arbitration. See, e.g., O’Hanlon, 2015 WL 5884844, at *3.

11 Plaintiffs are analogous to employees in that they became Consultants to earn

12 desperately needed income for their households. Contracts of adhesion are considered

13 more unconscionable for employees who have limited choices.

14        Existence of alternative goods, services, or opportunities does not negate
15 procedural unconscionability. In Newton v. Am. Debt Servs., Inc., 854 F. Supp. 2d

16 712, 723 (N.D. Cal. 2012), aff'd, 549 F. App'x 692 (9th Cir. 2013), the Court rejected

17 defendant’s argument in a class action involving debt settlement services that

18 plaintiff could not satisfy procedural unconscionability because of the availability of

19 other market alternatives to defendants’ product because “[t]his argument ignores

20 California case law finding that ‘use of a contract of adhesion establishes a minimal

21 degree of procedural unconscionability notwithstanding the availability of market

22 alternatives.’ Sanchez v. Valencia Holding Co., LLC, 201 Cal.App.4th 74, 91, 135

23 Cal.Rptr.3d 19 (2011) (rejecting the defendant’s argument that there was no

24 procedural unconscionability because the plaintiff could have bought his car from a

25 dealer who did not require arbitration).” See also Free Range Content, Inc. v. Google

26 Inc., No. 14-CV-02329-BLF, 2016 WL 2902332, at *7 (N.D. Cal. May 13, 2016);

27 and Winig v. Cingular Wireless LLC, No. C 06 4297 MMC, 2006 WL 2766007, at *4

28                                          17
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 1 (N.D. Cal. Sept. 27, 2006).

 2
                                  b.             The ADR Process is Permeated with Surprise and Oppression
                   “Surprise involves the extent to which the contract clearly discloses its terms
 3
     as well as the reasonable expectations of the weaker party.” Chavarria v. Ralphs
 4
     Grocery Co., 733 F.3d 916, 922 (9th Cir. 2013); Parada, 176 Cal. App. 4th at 1571
 5
     (procedural surprise occurs when the provision is “hidden in a prolix printed form or
 6
     otherwise beyond the reasonable expectation of the weaker party”).
 7
                   Here, the ADR Process is contained across three (or possibly more) lengthy
 8
     documents – the Agreement, P&P, and Amendment. Defendants failed to show that
 9
     17 of the 22 Plaintiffs ever received these documents.19 Bruni v. Didion, 160 Cal.
10
     App. 4th 1272, 1293, (2008), as modified (Mar. 24, 2008) (finding procedural
11
     unconscionability where the “arbitration provisions are not distinguished from the
12
     rest of the booklet by either bolding or capitalization” and “[m]ost important,
13
     plaintiffs were never asked to sign or initial the booklet, much less the arbitration
14
     provisions; they were merely asked to sign the one-page application”)(emphasis
15
     added); Saravia v. Dynamex, Inc., 310 F.R.D. 412, 420 (N.D. Cal. 2015) (finding
16
     procedural unconscionably where provisions were formatted identically to the rest of
17
     the provisions in the agreements, and they lay buried in the middle of more than ten
18
     pages of mostly boilerplate language). It does not explain who the mediator and then
19
     arbitrators will be, what rules will apply in both process, where the mediation and/or
20
     arbitration will take place, or the costs of the mediation and arbitration.                         The
21
     Agreement refers to P&P, but as set forth above, the P&P was not properly
22
     incorporated into the Agreements and Defendants offer no explanation as to why the
23
     ADR Process was not spelled out in the Agreements. Pokorny v. Quixtar, Inc., 601
24
     F.3d 987, 997 (9th Cir. 2010) (explaining that the degree of procedural
25
                                                                 
26   19
       3.0 contains no reference at all to arbitration, while 4.0 (when provided in full) and
27 6.5.1 only contain a brief reference to arbitration, without differentiating it from other
   text, at the end of a single-spaced document.
28                                                                      18
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  1 unconscionability was increased where the agreement did not include a “full

  2 description of the non-binding conciliation and binding arbitration processes”);

  3 Perez, 251 F. Supp. 3d at 1345 (finding unfair surprise and an increased degree of

  4 procedural unconscionability where the defendant presented a                                   more detailed
  5 arbitration agreement at a later date); Chavarria, 733 F.3d at 923 (“the degree of

  6 procedural unconscionability is enhanced when a contract binds an individual to

  7 later-provided terms”). Solo v. Am. Ass'n of Univ. Women, 187 F. Supp. 3d 1151,

  8 1162 (S.D. Cal. 2016) (“Defendant AAUW-CA drafted the agreement and failed to

  9 include terms that are material to ensuring the agreement is reasonably fair to both

10 parties. Failure to reference any arbitration rules or include reference to costs in the

11 arbitration supports a finding of procedural unconscionability.”) See Zullo, 197

12 Cal.App.4th at 485, 127 Cal.Rptr.3d 461; Trivedi v. Curexo Technology Corp., 189

13 Cal.App.4th 387, 393, 116 Cal.Rptr.3d 804 (2010).)”

14                   The P&P itself is equally unconscionable.                     The ADR Process provisions
15 appear at pages 30-31 and do not disclose the great cost of pre-arbitration mediation

16 or arbitration itself (discussed in more detail below).                             [Dkt. 76-6, p. 57-58]; see
17 Parada, 176 Cal. App. 4th at 1572 (finding surprise where the agreement did not

18 provide copies of the JAMS rules or fee schedule). Procedural unconscionability also

19 includes “the manner in which the contract was negotiated and the circumstances of

20 the parties at that time,” and as such focuses on whether the agreement was obtained

21 through oppression and surprise. The Plaintiffs are undeniably surprised why the
                                                                 20
22 ADR process (see Plaintiffs decs).

23
                     2.           The Arbitration Agreement is Substantively Unconscionable

24                   “A provision is substantively unconscionable if it involves contract terms that
25                                                            
   20
                                                              
     Reliance on the Amendment would constitute an even greater surprise. It did not exist
26 when Plaintiffs became Consultants and could not have been reviewed by them. With

27 contracts of adhesion, the stronger party must call the weaker party’s attention to the
   important term, not obfuscate it. See Parada, 176 Cal. App. 4th at 1571.
28                                                                    19
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  1 are so one-sided as to shock the conscience or that impose harsh or oppressive

  2 terms.” Parada, 176 Cal. App. 4th at 1573 (internal quotation and citation omitted).

  3 “Courts will more closely scrutinize the substantive unconscionability of terms that

  4 were ‘artfully hidden’ by the simple expedient of incorporating them by reference

  5 rather than including them in or attaching them to the arbitration agreement,”

  6 incorporation by reference, without more, does not affect the finding of procedural

  7 unconscionability. Poublon v. C.H. Robinson Co., 846 F.3d 1251, 1262 (9th Cir.

  8 2017)(quoting Harper v. Ultimo, 113 Cal.App.4th 1402, 1406, 7 Cal.Rptr.3d 418

  9 (2003)). Even without heightened scrutiny, the ADR Process is substantively

10 unconscionable.

11                                 a.           Lack of a Mutual Obligations to Arbitrate
12                   The lack any of mutuality in the ADR Process is fatally unconscionable. LLR
13 does not have to participate in the ADR Process at all, not even for breach of

14 contract. Yet Plaintiffs are forced to jump through the hoops of a mediation and

15 arbitration, all at their own expense, while paying their anticipated costs 10 days in

16 advance. Defendants’ carve-out for themselves all claims that it can bring in court or

17 simply act unilaterally to correct, (see “Disciplinary Sanctions”) while requiring

18 Consultants to always mediate and then arbitrate their claims. The P&P even allows

19 LLR to sue Consultants if a member of the Consultant’s household does something
                                                                                                  21
20 that, if done by Plaintiff, would breach the contract or some hidden LLR Policy.

21                   This ADR Process one-sidedness is the epitome of unconscionability,
22                                                             
        21
23
           While paling in comparison to the outright exclusion from the ADR Process for LLR, the
        P&P also contains thinly veiled “either party” language allowing for court action, found in
24      places referring to relief from a court for claims seeking “a writ of attachment, a temporary
25
        injunction, […] protect its intellectual property rights and/or enforce its rights under the non-
        solicitation provision of the Agreement.” [Dkt. 76-6, p. 57-58] But these rights belong only
26      to LLR. The non-solicitation provision also inures only to Defendants’ benefit. Similarly, all
27      of the intellectual property rights identified belong to Defendants, such as LLR’s trade
        names, trademarks, service marks, and copyrighted material, [Dkt. 76-6, p. 54-55]
28                                                                     20
                                                     OPPOSITION TO DEFENDANTS’ MOTION TO COMPEL
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  1 exemption for only one party (the drafting party and stronger party) from arbitration

  2 lacks mutuality and is substantively unconscionable. See Fitz v. NCR Corp., 118 Cal.

  3 App. 4th 702, 725 (2004) (finding an arbitration agreement unfairly one-sided, as it

  4 required one party—but not the other—to arbitrate all claims arising out of the same

  5 transaction); Harper v. Ultimo, 113 Cal. App. 4th 1402, 1408 (2003) (finding an

  6 arbitration agreement one-sided where the rules specified in the arbitration provision

  7 limited the remedies available to the weaker party, the consumer, but did not hinder

  8 the remedies available to the stronger drafting party, the service provider); Karimy v.

  9 Assoc. Gen. Contractors of Am.-San Diego Chapter, Inc., Apprenticeship & Training

10 Tr. Fund, No. 08-cv-297, 2009 WL 10671523, at *3 (S.D. Cal. Mar. 30, 2009); Baker

11 v. Osborne Dev. Corp., 159 Cal. App. 4th 884, 896 (2008). This lack of mutuality
                                                                                     22
12 renders the ADR Process substantively unconscionable.

13                                 b.           The Arbitration Agreement Imposes Exorbitant Costs
14                   Defendants targeted women, most of whom were struggling to provide for
15 their families, under their pyramid scheme. [see Plaintiffs Decs]                              Plaintiffs paid
16 thousands of dollars to Defendants, mostly by loans, credit cards, or withdrawing

17 from modest savings. Id. The ADR Process is unconscionable as it imposes excessive

18 costs upon Plaintiffs, a population that cannot afford same. Id. The ADR Process is

19                                                             
        22
              Defendants’ offer no business justification, as they cannot, for this one-sided ADR
20 Process. As the court in Stirlen v. Supercuts, Inc., 51 Cal. App. 4th 1519, 1536–37, 60 Cal.

21 Rptr. 2d 138, 148–49 (1997), as modified (Feb. 10, 1997) explained “unless the ‘business
        realities’ that create the special need for such an advantage are explained in the contract
22 itself…must be factually established.” There is no justification nor factual support as to why

23 LLR needs the advantage of avoiding any legal forum while forcing Plaintiffs to spend
        thousands in ADR. See Id. (finding arbitration provision carve outs for intellectual property
24 carve unjustified and unconscionable); see also Martin v. Ricoh Americas Corp., No. C-08-

25 4853 EMC, 2009 WL 1578716, at *4 (N.D. Cal. June 4, 2009); Mercuro v. Superior Court,
        96 Cal.App.4th 167, 177, 116 Cal.Rptr.2d 671 (2002); Randazzo Enterprises, Inc. v.
26 Applied Underwriters Captive Risk Assurance Co., Inc., No. 5:14-CV-02374-EJD, 2014

27 WL 6997961, at *6 (N.D. Cal. Dec. 11, 2014) 
         
28                                                                     21
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 1 unconscionable because its costs are not justified by for these claims.

 2         Before even entering arbitration, the agreement requires Consultants—whether
 3 residing in Hawaii, Alaska, or Maine—to mediate in California (or Wyoming) in a

 4 proceeding that can last up to two days, where “the mediator’s fees and costs, as well

 5 as the costs of holding and conducting mediation, shall be divided equally between

 6 the parties” and paid 10 days in advance. [Dkt. 76-6, p. 57-58] The cost to mediate

 7 and arbitrate Plaintiffs’ claims are conservatively $10,000 to $20,000. See Godino

 8 Dec. ¶¶ 8-16. It is substantively unconscionable to impose costs of at least $10,000

 9 on Plaintiffs to arbitrate and mediate their claims, particularly where, as evidenced by

10 Plaintiffs’ declarations, many Plaintiffs’ claims fall within that range and Plaintiffs

11 are already in significant debt with limited earnings. [See  Plaintiffs’ Decs]; see also

12 Parada, 176 Cal. App. 4th at 1582 ($3,200 daily arbitration cost to be borne by

13 plaintiff to be substantively unconscionable); Gutierrez v. Autowest, Inc., 114 Cal.

14 App. 4th 77, 90 (2003), as modified on denial of reh’g (Jan. 8, 2004) (“it is

15 substantively unconscionable to require a consumer to give up the right to utilize the

16 judicial system, while imposing arbitral forum fees that are prohibitively high.”);

17 Chavarria, 733 F.3d 916 ($3,500-$7,500 daily cost of arbitration to be borne by

18 plaintiff was unconscionable particularly where the “cost likely dwarfs the amount of

19 Chavarria’s     claims”).     These exorbitant costs render the ADR Process
20 unconscionable because it denies Plaintiffs legal recourse against Defendants.

21               c.     The Arbitration Agreement Requires Broad Confidentiality
22         The P&P specifies that “[t]he parties and the arbitrator shall maintain the
23
     confidentiality of the entire arbitration process” and shall not disclose any
24
     information pertaining to the claims, evidence, issues, rulings, or awards. [Dkt. 76-
25

26 14, p. 38]This confidentiality obligation is one-sided, it only benefits Defendants by

27
     creating the advantage of being a repeat participant in arbitration regarding the same
28                                           22
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  1
        issues, acquiring institutional knowledge as to how to arbitrate them, while Plaintiffs

  2 are not repeat players and cannot call on the experience of their predecessors for

  3
        assistance. See Grabowski v. Robinson, 817 F. Supp. 2d 1159, 1176 (S.D. Cal. 2011)
  4

  5 (finding a confidentiality provision unconscionably favored the drafting party, and

  6 prevented plaintiffs from assisting other plaintiffs in resolving their claims); AT & T

  7
        Mobility II, LLC v. Pestano, No. 07-cv-5463, 2008 WL 682523, at *7 (N.D. Cal.
  8

  9 Mar. 7, 2008) (confidentiality provision unconscionable because such clauses allow a

10 defendant “to place itself in a far superior legal posture by ensuring that none of its

11
        potential opponents have access to precedent while, at the same time, [defendant]
12

13 accumulates a wealth of knowledge on how to negotiate the terms of its own

14 unilaterally crafted contract”).23                                The ADR Process is unconscionable and
15
        unenforceable.24
16

17                   3. Non-Signatories Cannot Enforce the ADR Process
18
                     Defendants concede that LuLaRoe, LLC, is not a signatory to 4.0 and 6.5.2
19
        and, LLR, Inc. is not a signatory to 3.0. [Dkt. 76, p. 30]. It is undisputed that
20                                                             
        23
21         The ADR Process also requires Consultants to bring their claims within one year and
        requires them to waive any statute of limitations (“SOL”) claims. Under California law,
22      the applicable SOL for Plaintiffs’ various claims range from three to four years. This one
23      year SOL provision significantly shortens the limitations period for Plaintiffs’ claims and
        is, therefore, substantively unconscionable.
24      24
            The ADR Process here is so permeated with unconscionability that the unconscionable
25      sections cannot be severed. See Jackson v. S.A.W. Enter., Ltd., 629 F. Supp. 2d 1018, 1030
        (N.D. Cal. 2009). “A court is not authorized to affirmatively add terms” to reform a
26      contract. Id. If the terms cannot be severed to remove the unconscionability, then the
27      contract cannot be enforced. Id.
         
28                                                                     23
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 1 defendants Mark Stidham and DeAnne Brady are not signatories to any version of the

 2 Agreements. Nevertheless, Defendants argue that each defendant, including the non-

 3 signatory defendants, may enforce the ADR Process under the equitable estoppel

 4 doctrine. [Dkt. 76, 30-31. However, as the case law makes clear, a non-signatory to

 5 an arbitration agreement may only compel arbitration of a signatory’s claims under

 6 very limited and specific circumstances. Mundi v. Union Sec. Life Ins. Co., 555 F.3d

 7 1042, 1046 (9th Cir. 2009) (“extending” equitable estoppel in favor of non-

 8 signatories in an arbitration context exists in “very narrow confines.”).

 9        Defendants seemingly contend that Plaintiffs should be forced to arbitrate their
10 claims with the non-signatory defendants because Plaintiffs’ claims would not exist

11 but for their execution of the Agreements. (Dkt. 76, p. 30-31). Courts around the

12 country disagree, concluding that a mere but for test does not supply the intimately

13 inter-twined relationship upon which equitable estoppel is dependent.        See In re
14 Toyota Motor Corp. Unintended Acceleration Mktg., 2012 WL 826854, at *22 (C.D.

15 Cal. Mar. 12, 2012); Lenox MacLaren Surgical Corp., 449 Fed. Appx. at 709; Boyd

16 v. Homes of Legend, 981 F. Supp. 1423, 1433 (M.D. Ala. 1997), abrogated in part on

17 other grounds by Davis v. Southern Energy Homes, Inc., 305 F.3d 1286, 1271 (11th

18 Cir. 2002); Mundi, 555 F.3d 1042, 1047 (9th Cir. 2009).

19     C. The Arbitrator Decides Class Arbitrability
20        If the Court is inclined to grant Defendants’ motion to compel arbitration, the
21 next issue to be decided is whether or not the arbitration can proceed as a class

22 arbitration. “Who has the primary power to decide arbitrability turns upon what the

23 parties agreed about that matter.” First Options of Chi., Inc. v. Kaplan, 514 U.S. 938,

24 943 (1995). The P&P makes clear that the arbitrator decides issues of arbitrability.

25 Lyon Decl. Ex. C ¶ 6.4 (“any controversy or claim arising out of or relating to the

26 Agreement … shall be settled by arbitration.” (emphasis added). Such a broad

27 arbitration clause necessarily includes issues of arbitrability.     Sandquist v. Lebo
28                                           24
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 1 Auto., Inc., 1 Cal. 5th 233, 248 (2016) (finding, under California law, that broad

 2 arbitration clauses allocate the decision on the availability of class arbitration to the

 3 arbitrator, rather than reserving it for a court). Incorporation of the AAA’s model

 4 rules for arbitration constitutes clear and unmistakable evidence that the parties
                                                                                        25
 5 intended to delegate gateway questions to an arbitrator.                                  Oracle America, Inc. v.
 6 Myriad Group A.G., 724 F.3d 1069, 1074 (9th Cir. 2013).                                     Indeed, the Supreme
 7 Court clarified that the arbitrator and not a court should decide issues involving class

 8 arbitration.                    Stolt-Nielsen S.A. v. AnimalFeeds Int'l Corp., 559 U.S. 662, 678–79
 9 (2010).

10                 Accordingly, the parties have clearly and unmistakably submitted class
11 arbitrability to the arbitrator.

12          IV.            CONCLUSION
13                 For the foregoing reasons, Plaintiffs respectfully request that the Court deny
14 Defendants’ motion in its entirety.

15

16

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21
                                                                 
     25
22     The Ninth Circuit has not addressed whether incorporation of the AAA's model
23
     rules is sufficient to delegate to an arbitrator the question of whether a given
     arbitration agreement permits class-wide arbitration, but the weight of district court
24   authority has found that it is. See, e.g., Guess?, Inc. v. Russell, No. 216-cv-780,
25
     2016 WL 1620119, at *6 (C.D. Cal. Apr. 18, 2016) (noting the current state of
     Ninth Circuit law and holding that absent further, binding guidance in the Ninth
26   Circuit, incorporating the AAA's Model Rules for Arbitration presumes that the
27   parties agreed to delegate the question of whether a party could pursue their claims
     on a class-wide basis to an arbitrator).
28                                                                      25
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 1

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    2        I, the undersigned say:
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    6 Central District of California, for receipt electronically by the parties listed on the

    7 Court’s Service List.

    8        I affirm under penalty of perjury under the laws of the United States of America
    9 that the foregoing is true and correct. Executed on March 19, 2018, at Los Angeles,

   10 California.

   11

   12                                               s/ Marc L. Godino
   13
                                                    Marc L. Godino

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         LuLaRoe, LLC et al
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         Manual Notice List

         The following is the list of attorneys who are not on the list to receive e-mail notices for this case (who therefore require manual
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